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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA
                               NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                                         MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                SECTION “N-5"

                                                            JUDGE ENGELHARDT
                                                            MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Nunnery, et al v. Keystone RV Industries., et al,
E.D. La. Case No. 09-3871

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                     MOTION IN LIMINE TO EXCLUDE EVIDENCE

       NOW INTO COURT, through undersigned counsel comes Plaintiff, David McGraw who

hereby respectfully moves this Court in Limine to exclude any reference to Plaintiff’s prior arrest

and related information for the reasons more fully set forth in the accompanying memorandum.



                                      Respectfully submitted:

                                      FEMA TRAILER FORMALDEHYDE
                                      PRODUCT LIABILITY LITIGATION

                                      BY:    s/Gerald E. Meunier
                                             GERALD E. MEUNIER, #9471
                                             PLAINTIFFS’ CO-LIAISON COUNSEL
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                                             s/Justin I. Woods
                                             JUSTIN I. WOODS, #24713
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                                          COURT-APPOINTED PLAINTIFFS’
                                          STEERING COMMITTEE
                                          ANTHONY BUZBEE, Texas # 24001820
                                          ROBERT BECNEL, #14072
                                          RAUL BENCOMO, #2932
                                          FRANK D’AMICO, #17519
                                          MATT MORELAND, #24567
                                          LINDA NELSON, #9938
                                          DENNIS REICH, Texas #16739600
                                          MIKAL WATTS, Texas # 20981820

                              CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document has been served
upon counsel of record as indicated below in accordance with the Federal Rules of Civil
Procedure on April 7, 2010.

                                          /s/Gerald E. Meunier _
                                          GERALD E. MEUNIER
